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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,

       Plaintiffs,

v.                                        Civil Action No. 1:25-cv-00352-CJN

PRESIDENT DONALD TRUMP, et al.,

       Defendants.



           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
                         PRELIMINARY RELIEF
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                                        INTRODUCTION

       Plaintiffs, American Foreign Service Association (AFSA), a professional association that

represents foreign service officers (FSOs), and American Federation of Government Employees

(AFGE), a union that represents federal civilian employees, bring a scattershot attack against the

policy decisions of the Executive Branch. See generally Compl., ECF No. 1. They allege that

Defendants President Donald J. Trump, the United States Department of State, the United States

Agency for International Development (USAID), Department of Treasury, Secretary and Acting

Administrator Marco Rubio, and Secretary Scott Bessent (collectively, Defendants) are “illegal[ly]

and unconstitutional[ly] dismantling” USAID, by, inter alia, “laying off staff and contractors,

halting foreign assistance funded by USAID, issuing stop work orders, closing down USAID

headquarters, and taking down USAID’s website.” Pls.’ Mot. for Temp. Restraining Order, ECF

No. 9-1 (Pls.’ Mot. for TRO) at 12. They seek to remedy these policy decisions through an

overbroad injunction that would essentially place USAID in a receivership, superintended by the

Court. See, e.g.., Proposed Order, ECF No. 9-14. This is not the proper role of the judiciary.

Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803).

       Plaintiffs’ motion for preliminary injunctions fails to establish a likelihood of success on

the merits of their claims. As an initial matter, Plaintiffs’ claims are not justiciable. Plaintiffs’

claims, which, at bottom, challenge employment decisions made by the agency, are precluded

pursuant to the Civil Service Reform Act of 1978 (CSRA), the Federal Service Labor-Management

Relations Act (FSL-MRS), and the Foreign Service Act (FSA). Additionally, although Plaintiffs’

members claim injury from the pause in foreign aid, none of the Plaintiffs have established a

cognizable Article III injury-in-fact to demonstrate associational or organizational standing.




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         Even if Plaintiffs’ claims were proper in this Court, the claims are meritless on their own

terms. With respect to Plaintiffs’ constitutional claims, Plaintiffs miss the mark because they raise

purely statutory arguments. And in any event, Plaintiffs’ Separation of Powers claim fails because

the President’s powers in the realm of foreign affairs are vast and generally unreviewable, and

their Take Care Clause argument fails as that clause cannot be used to obtain affirmative relief.

         Plaintiffs’ Administrative Procedure Act (APA) claims also do not establish a likelihood

of success. Principally, because Plaintiffs’ claims do not challenge any agency action, much less

any final agency action, they cannot be brought under the APA. Further, Plaintiffs have another

adequate remedy at law, and Plaintiffs cannot demonstrate that Defendants have acted contrary to

law, arbitrarily and capriciously, or exceeded their statutory authority.

         Finally, as the declaration of Peter Marocco makes clear, any finding of irreparable harm

would be misplaced. See generally Executive Order 14,169, Reevaluating and Realigning United

States Foreign Aid, 90 Fed. Reg. 8619 (Jan. 20, 2025), Ex. A, Decl. of Peter Marocco (Marocco

Decl).    Although Plaintiffs argue that its members will suffer irreparable harm from their

placement on administrative leave, their recall to America, and their claimed lack of access to

security features, these fears are belied by the record. And because the public has an interest in

the President taking decisive action in the realm of foreign affairs, the public interest and balance

of the equities tip in Defendants’ favor. As such, Plaintiffs have not established the criteria

necessary for this Court to enter the extraordinary remedy of a preliminary injunction.




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                                        BACKGROUND

  I.    STATUTORY BACKGROUND

        A. The Executive’s Authority and Discretion to Set Foreign Aid

        Under the statutory regime governing foreign assistance, and consistent with his

responsibilities regarding the conduct of U.S. foreign affairs, the President has broad discretion to

set the terms and conditions on which the United States provides such assistance. Many of the

authorities provided under the Foreign Assistance Act of 1961 (FAA), and similar statutes,

explicitly allow for the provision of assistance “on such terms and conditions as [the President]

may determine.” See, e.g., section 104(c)(1) of the FAA (22 U.S.C. § 2151b(c)(1)) (health

assistance); section 481(a)(4) of the FAA (22 U.S.C. § 2291(a)(4)) (counternarcotics and anti-

crime assistance); section 531 of the FAA (22 U.S.C. § 2346) (assistance to promote economic or

political stability); section 541(a) of the FAA (22 U.S.C. § 2347) (International Military Education

and Training assistance); section 551 of the FAA (22 U.S.C. § 2348) (Peacekeeping Operations);

section 571 of the FAA (22 U.S.C. § 2349aa) (anti-terrorism assistance); see also section 2(c)(1)

of the Migration and Refugee Assistance Act of 1962, (MRAA), Pub. L. No. 87-510, 76 Stat. 121

(22 U.S.C. § 2601(c)(1)); section 201 of the SEED Act of 1989, Pub. L. No. 101-179, 103 Stat.

1298 (amending the FAA by inserting, inter alia, § 498b(i)).

        The FAA delegates some of this authority. For example, Section 622(c) of the FAA

provides that the Secretary of State, under the direction of the President, “shall be responsible for

the continuous supervision and general direction of economic assistance, military assistance, and

military education and training programs . . . to the end that such programs are effectively

integrated both at home and abroad and the foreign policy of the United States is best served

thereby.” 22 U.S.C. § 2382(c).



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       In 1961, President Kennedy issued Executive Order 10973, directing the Secretary of State

to “establish an agency in the Department of State to be known as the Agency for International

Development.” Exec. Order 10,973 § 102, 26 Fed. Reg. 10,469 (Nov. 3, 1961). Section 1413 of

the Foreign Affairs Reform and Restructuring Act of 1998, Pub. L. No. 105-277, 112 Stat. 2681

(1998), (FARRA) recognized USAID as an “independent establishment.” See 22 U.S.C. § 6563;

5 U.S.C. § 104 (“For the purpose of this title, ‘independent establishment’ means (a) an

establishment in the executive branch . . . which is not an Executive department, military

department, Government corporation, or part thereof, or part of an independent establishment…”

). Under FARRA, the USAID Administrator is “under the direct authority and foreign policy

guidance of the Secretary of State.” 22 U.S.C.A. § 6592. And several types of foreign assistance

are jointly administered by the Department of State and USAID. See, e.g., 22 U.S.C. § 6563; id.

§ 2346(b) (economic support funds).

       Consistent with this authority, President Trump promptly acted to ensure that the United

States’s provision of foreign aid is aligned with American interests. Upon taking office on January

20, 2025, President Trump instituted a ninety-day pause in United States foreign development

assistance to allow his administration to assess programmatic efficiencies, and to ensure that all

foreign aid is consistent with United States foreign policy. See Exec. Order 14,169, Reevaluating

and Realigning United States Foreign Aid, 90 Fed. Reg. 8,619 (Jan. 20, 2025). Secretary of State

Marco Rubio implemented this Executive Order on January 24, 2025. Marocco Decl., Ex. B.,

Dep’t of State, Mem. 25 STATE 6828 (Jan. 24, 2025). Secretary Rubio also approved waivers,

including waivers for foreign military financing for Israel and Egypt, emergency food expenses,

administrative expenses, and legitimate expenses incurred before the pause went into effect,

Marocco Decl. ¶ 10, and a waiver on the pause for life-saving humanitarian assistance during the




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review, see Sec’y of State, Emergency Humanitarian Waiver to Foreign Assistance Pause (Jan. 28,

2025), http://state.gov/emergency-humanitarian-waiver-to-foreign-assistance-pause.

        Not only is the Trump Administration reviewing foreign aid for programmatic

inefficiencies, but it is also taking steps to ensure there are no inefficiencies within the federal

workforce. On January 20, 2025, the Office of Personnel Management (OPM) issued a guidance

memorandum as to probationary periods and administrative leave.               Mem., Guidance on

Probationary     Periods,    Admin.      Leave       Details,   Jan.    20,    2025     (Guidance),

https://chcoc.gov/sites/default/files/Guidance%20on%20Probationary%20Periods%2C%20Admi

nistrative%20Leave%20and%20Details%XXX-XX-XXXX%20FINAL.pdf. The Guidance reinforced

that federal agencies had the authority to place employees on paid administrative leave “when it is

in their best interest to do so,” including when (1) “the absence is directly related to the agency’s

mission,” (2) “the absence is officially sponsored or sanctioned by the agency,” (3) “the absence

will clearly enhance the professional development or skills of the employee in the employee’s

current position,” or (4) “the absence is in the interest of the agency or of the Government as a

whole.” Id. at 2. The Guidance further explained that administrative leave may “be an appropriate

action where the agency component in which the employee works is being eliminated or

restructured, or where the agency weighs changes to the individual’s role at the agency as part of

a workforce realignment.” Id.

 II.    FACTUAL BACKGROUND

        On January 30, 2025, President Trump appointed Secretary Marco Rubio to act as the

Acting Administrator of USAID. Marocco Decl. ¶ 8. Secretary Rubio, in line with the views of

the President, concluded that USAID’s foreign assistance processes reflected signs of severe

inefficiency, and a substantial number of the programs funded by USAID neither substantially




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benefit the American people, nor reflect the priorities of the President and Secretary. Id. ¶ 7. Thus,

Secretary Rubio sent a letter to Congress on February 3, stating that Peter Marocco was delegated

the duties of Deputy Administrator of USAID and would “begin the process of engaging in a

review and potential reorganization of USAID’s activities to maximize efficiency and align

operations with the national interest.” Id. ¶ 8.

       In line with those objectives, and to thoroughly review the operations of the agency and

align its functions to the President’s and Secretary’s priorities, USAID leadership began placing

employees on paid administrative leave. Id. ¶ 9. The use of paid administrative leave enabled

agency leadership to begin a thorough review of USAID’s operations and align its functions to the

President’s and Secretary’s priorities, without continued noncompliance by former agency

leadership and management undermining those priorities. Id. Of the total 4,765 employees at

USAID, the agency initially put 58 on paid administrative leave. Id. ¶ 11. By February 7, 2025,

approximately 2,140 employees were placed on, administrative leave. Id. ¶ 12. The agency also

determined that approximately 611 employees were essential to perform USAID’s statutory duties

and had planned to place the remaining approximately 2,014 employees on paid administrative

leave by 11:59 p.m. on Friday, February 7, 2025. Id. ¶¶ 16–17.

       USAID has a careful plan for those employees currently stationed abroad placed on paid

administrative leave. Id. ¶ 22. Those employees who are abroad, or “at Post,” were given, and

will be provided with, a choice to either stay at Post, or return to the United States. Id. ¶ 23; see

also Marocco Decl. Ex. D, USAID Website (Feb. 7, 2025). But if an employee chooses to stay at

Post, he or she will be entitled to all the benefits previously offered, so long as he or she remains

on paid administrative leave. Marocco Decl. ¶ 23. If an employee chooses to return to the United

States, the agency will coordinate and financially cover that return for the employee and his or her




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family. Understanding that some employees may not be in a position to leave their Post within

thirty days, id. ¶ 25, USAID has made clear that it will consider case-by-case exceptions and offer

extensions based on personal or family hardship, mobility or safety concerns, or other reasons. Id.

¶ 26. For example, the agency will consider exceptions based on the timing of dependents’ school

term, personal or familial medical needs, pregnancy, and other reasons. Id.

        Further, when employees are placed on paid administrative leave, they may lose access to

certain USAID systems, including their USAID email. Id. ¶¶ 14, 27. The rationale for this is to

ensure the security of internal systems, and that the “pause” on agency operations can truly go into

effect. Id. ¶ 27. But USAID has no plan or proposal that an employee would be shut out from

access to overseas security resources at a high-risk post and is committed to the personal security

of all personnel and their families. Id.

III.    PROCEDURAL HISTORY

        Plaintiffs AFSA and AFGE filed their Complaint on February 6, 2025, alleging that

Defendants are violating the Constitution and Administrative Procedure Act (APA) by

“dismantl[ing]” USAID. Compl., ECF No. 1 ¶¶ 1–8, 34. The following day, on February 7,

Plaintiffs filed a motion for a temporary restraining order and asked the Court to enjoin

“Defendants immediately from taking any further actions to shut down USAID operation.” Pls.’

Mot. for TRO at 23. The Court held a hearing a few hours later. See Min. Order dated Feb. 7,

2025.

        After argument, the Court entered a temporary restraining order (TRO) preventing

Defendants from placing additional employees on administrative leave, requiring Defendants to

reinstate employees who had already been placed on administrative leave, and mandating that no

employee was to be evacuated from their host country before February 14, 2025. Temporary




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Restraining Order, ECF No. 15 (TRO) at 7. The Court found that, although Plaintiffs frame their

request for an injunction over the “illegal and unconstitutional dismantling of USAID,” their

alleged harms really stemmed from “(1) the placement of USAID employees on administrative

leave; (2) the expedited evacuation of USAID employees from their host countries; and (3)

Secretary Rubio’s January 24, 2025 order pausing all new obligations of funding.” Id. at 2 (cleaned

up).

        As to the placement on administrative leave, the Court concluded that it did not have “the

opportunity to consider” the merits of Plaintiffs’ argument “in detail,” but that Plaintiffs had “at

least a colorable argument.” Id. at 3. The Court also determined that the loss of security

apparatuses could constitute an irreparable injury, and that the equities favored the Plaintiffs. Id.

at 3–4. Regarding expedited evacuations, the Court concluded that such evacuations could disrupt

the “educational progress” of employees’ families, along with the employees’ “physical safety[]

and family relations” constituting an irreparable injury, and that the “remaining TRO factors shake

out in a similar way as they did with respect to the administrative leave question.” Id. at 4–5.

Finally, the Court concluded that Plaintiffs failed to establish an irreparable injury as to the funding

pause because, although Plaintiffs claim that some of its members face financial exposure for

contracts entered into by USAID, Plaintiffs had “not explained how or why contracting officers

would be held personally liable for contracts entered into by USAID, nor have they explained why

there would be no recourse after the fact if that did somehow happen.” Id. at 6. And the Court

concluded that Plaintiffs’ members alleged emotional harm resulting from the pause was the “kind

of hypothetical harm insufficient to warrant a TRO.” Id.

        The Court then ordered Defendants to file a response to Plaintiffs’ motion by 5:00 p.m. on

February 10, 2025 and set a preliminary injunction hearing for February 12, 2025. Id. at 7.




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                                       LEGAL STANDARD

       A preliminary injunction is an “extraordinary and drastic remedy” that should “never [be]

awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (citation omitted). To warrant

relief, the movant must satisfy a four-prong test, establishing “that he is likely to succeed on the

merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); accord Sherley v. Sebelius, 644 F.3d 388, 392 (D.C.

Cir. 2011). The third and fourth factors of the analysis—harm to others and the public interest—

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

       Plaintiffs misleadingly claim that “[c]ourts in this Circuit continue to apply a ‘sliding scale’

approach, wherein ‘a strong showing on one factor could make up for a weaker showing on

another.’” Pls.’ Mot. for TRO at 8 (quoting Changji Esquel Textile Co. v. Raimondo, 40 F.4th

716, 726 (D.C. Cir. 2022)). Actually, Changji declined to opine on “whether the sliding-scale

approach remains valid.” Id. at 726. Subsequent case law confirms it is not. See Cmty. Oncology

All. v. Becerra, No. 23-CV-2168 (CJN), 2023 WL 9692027, at *3 (D.D.C. Dec. 21, 2023) (Nichols,

J.) (“Although the Court of Appeals has not yet expressly held that a plaintiff must make a clear

showing on each of the four Winter factors, current caselaw in this jurisdiction favors that

approach.”); see also In re Navy Chaplaincy, 738 F.3d 425, 428 (D.C. Cir. 2013) (requiring proof

on all four factors); Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296 (D.C. Cir. 2009)

(Kavanaugh, J., concurring) (noting that, after Winter, “the old sliding-scale approach to

preliminary injunctions—under which a very strong likelihood of success could make up for a

failure to show a likelihood of irreparable harm, . . . is no longer . . . viable”) (internal quotation

and citation omitted). Indeed, injunctive relief that “deeply intrudes into the core concerns of the




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executive branch”—including foreign affairs and national security—may be awarded only upon

“an extraordinarily strong showing” as to each element. Adams v. Vance, 570 F.2d 950, 954–55

(D.C. Cir. 1978).

                                           ARGUMENT

       Plaintiffs have failed to meet their burden to demonstrate any of the requirements to obtain

preliminary injunctive relief because (1) they have not shown there is a likelihood of success on

the merits on any of their constitutional or statutory claims because the Court lacks jurisdiction to

hear them, and they are unlikely to succeed on the merits; (2) they have not demonstrated

irreparable harm because all of Plaintiffs’ alleged harms are redressable; and (3) the balance of

equities and public interest tip in favor of Defendants because the public has an interest in ensuring

that the executive is allowed to take decisive action in the realm of foreign affairs. For any one of

these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction.

   I. PLAINTIFFS ARE NOT LIKELY TO PREVAIL ON THE MERITS OF THEIR
      CLAIMS.
       Plaintiffs’ motion for preliminary injunctions fails to establish a likelihood of success on

the merits of their claims. Plaintiffs’ claims are not justiciable because (1) Plaintiffs’ challenges

to employment decisions are precluded by the CSRA and FSA and (2) Plaintiffs lack standing to

challenge the pause in foreign aid.       Even if Plaintiffs could get past these hurdles, their

constitutional claims fail because (1) they raise purely statutory arguments, (2) the President’s

powers in the realm of foreign affairs are vast and generally unreviewable, and (3) the Take Care

Clause cannot be used to obtain affirmative relief. Moreover, Plaintiffs’ APA claims also do not

establish a likelihood of success. Plaintiffs’ claims do not challenge any agency action, much less

any final agency action, and cannot be brought under the APA. Further, Plaintiffs have another

adequate remedy at law, and Plaintiffs cannot demonstrate that Defendants have acted contrary to



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law or arbitrarily and capriciously or exceeded their statutory authority. For these reasons, the

Court should deny Plaintiffs’ request for preliminary injunctive relief.

       A. The Court Lacks Jurisdiction Over Plaintiffs’ Claims.

       As this Court has noted, Plaintiffs’ harms stem from three actions: the placement of

employees on administrative leave, the evacuation of USAID employees from their host countries,

and the January 24, 2025, pause on foreign assistance funding. See TRO at 2. But the Court lacks

jurisdiction over challenges to any of these decisions. First, Congress has precluded district court

jurisdiction over Plaintiffs’ challenges to Defendants’ decisions to place employees on paid

administrative leave and evacuate employees under the Federal Service Labor–Management

Relations Statute (FSL-MRS), the Civil Service Reform Act (CSRA), and the Foreign Service Act

(FSA). And second, Plaintiffs lack both associational and organizational standing to remedy any

alleged injury flowing from the pause and review of foreign aid. For these reasons, Plaintiffs

cannot establish a likelihood of success on the merits, and the Court should deny Plaintiffs’ request

for preliminary injunctive relief.

           1. Plaintiffs Must Pursue Their Claims Through the Statutory Scheme Congress
              Established.

       At the outset, this case involves a challenge to policy decisions governing federal

employees. The Court lacks jurisdiction over these claims because Congress has established a

detailed statutory scheme for adjudicating disputes related to federal employment, and Plaintiffs’

claims must be adjudicated through this administrative process.

       “Within constitutional bounds, Congress decides what cases the federal courts have

jurisdiction to consider.” Bowles v. Russell, 551 U.S. 205, 212 (2007). Although district courts

have jurisdiction over civil actions arising under federal law, see 28 U.S.C. § 1331, “Congress may

preclude district court jurisdiction by establishing an alternative statutory scheme for


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administrative and judicial review.” Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump (AFGE), 929

F.3d 748, 754 (D.C. Cir. 2019). Here, as detailed below, Congress has precluded district court

jurisdiction for the claims brought by Plaintiff AFGE on behalf of its members in the civil service

under the FSL-MRS and CSRA, as well as the claims brought by AFSA for its members in the

foreign service through the FSA.

               a. The FSL-MRS and CSRA Preclude the Challenges Brought by AFGE.
       Congress has established a detailed statutory scheme for adjudicating disputes that arise in

the sphere of federal employment for civil servants. The FSL-MRS, and the CSRA, of which the

FSL-MRS is a part, together provide a comprehensive “scheme of administrative and judicial

review” for resolving both disputes between employees and their federal employers and disputes

between unions representing those employees. AFGE, 929 F.3d at 752 (regarding FSL-MRS); see

Graham v. Ashcroft, 358 F.3d 931, 933 (D.C. Cir. 2004) (regarding CSRA more broadly). In these

statutes, Congress provided that most federal labor and employment disputes must first be

administratively exhausted before the employing agency and the applicable administrative review

board—either the Merit Systems Protection Board (MSPB) for employment disputes or the Federal

Labor Relations Authority (FLRA) for labor disputes. Judicial review, if any, is generally

available only following the exhaustion of administrative review. See AFGE, 929 F.3d at 752

(citing 5 U.S.C. §§ 7105, 7123(a), (c)); Graham, 358 F.3d at 934 (citing United States v. Fausto,

484 U.S. 439, 448–50 (1988)); see also 5 U.S.C. § 7703(b) (providing for judicial review in the

Federal Circuit or other court of appeals).

       Statutory schemes like these largely preclude jurisdiction in the district courts, either

altogether or prior to the completion of jurisdictional administrative exhaustion requirements.

AFGE, 929 F.3d at 754. In AFGE, the D.C. Circuit applied the “two-step framework set forth in

Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994),” to conclude that the union plaintiffs in


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that case could not challenge in district court three executive orders related to federal employment.

AFGE, 929 F.3d at 754. Under that framework, district courts lack jurisdiction over suits like this

one when the intent for exclusive review in the court of appeals is “(i) fairly discernible in the

statutory scheme, and (ii) the litigant’s claims are of the type Congress intended to be reviewed

within [the] statutory structure.” See id. at 755 (citations omitted).

       Indeed, the Supreme Court has repeatedly held that the CSRA provides the exclusive

means of redressing employment disputes involving federal employees. See Elgin v. Dep’t of

Treasury, 567 U.S. 1, 10–15 (2012); Fausto, 484 U.S. at 455. Likewise, the D.C. Circuit has

repeatedly recognized that the FSL-MRS and the CSRA readily satisfy the first prong of the

Thunder Basin framework. See AFGE, 929 F.3d at 755 (concluding that union plaintiffs could not

challenge in district court three executive orders related to federal employment); Fornaro v. James,

416 F.3d 63, 66 (D.C. Cir. 2005). In other words, Congress intended to make the FSL-MRS and

CSRA the exclusive scheme, and they satisfy the first step of the two-step Thunder Basin

framework.

       Plaintiffs’ claims are also the type to be challenged through this statutory structure. In fact,

“[c]laims ‘will be found to fall outside of the scope of a special statutory scheme in only limited

circumstances, when (1) a finding of preclusion might foreclose all meaningful judicial review;

(2) the claims are wholly collateral to the statutory review provisions; and (3) the claims are beyond

the expertise of the agency.’” AFGE, 929 F.3d at 755 (quoting Arch Coal, Inc. v. Acosta, 888 F.3d

493, 500 (D.C. Cir. 2018)).

       Here, all three factors point toward preclusion. First, a finding of preclusion will not thwart

meaningful judicial review. In essence, Plaintiff AFGE is challenging the placement of its

members on paid administrative leave, and perceived consequences or incidental effects that will




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flow from that placement, whether related to financial benefits or repatriation. But an employee’s

placement on administrative leave can be challenged under the CSRA or FSL-MRS. Ghaly v.

Dep’t of Agric., 228 F. Supp. 2d 283 (S.D.N.Y. 2002) (plaintiff challenging his transfer to paid-

administrative leave needed to exhaust administrative remedies). In particular, the Negotiated

Collective Bargaining agreement between AFGE’s USAID workers and the Agency has an

established grievance procedure for determining whether the Agency violated, misinterpreted, or

misapplied laws, rules, or regulations in setting conditions of employment. See Negotiated

Collective Bargaining Agreement Between USAID and AFGE Local 1534 (AFL-CIO), Art. 17,

Art. 21, Dec. 22, 2016. If dissatisfied with the decision by the employing agency and the applicable

administrative review board, Plaintiffs’ members still have the opportunity for judicial review in

a court of appeals. See AFGE, 929 F.3d at 752 (citing 5 U.S.C. §§ 7105, 7123(a), (c)); Graham,

358 F.3d at 934 (citing Fausto, 484 U.S. at 448–50); see also 5 U.S.C. § 7703(b) (providing for

judicial review in the Federal Circuit or other court of appeals).

       For similar reasons, Plaintiff AFGE’s challenge—the placement of its members on

administrative leave— is also not “wholly collateral” to the statutory review provisions. Rather,

that claim may arise in the context of a specific labor dispute, as set forth above. See AFGE, 929

F.3d at 759–60 (“This consideration is ‘related’ to whether ‘meaningful judicial review’ is

available, and the two considerations are sometimes analyzed together.” (quoting Jarkesy v. SEC,

803 F.3d 9, 22 (D.C. Cir. 2015))).

       Finally, Plaintiff AFGE’s claims are precisely within the FLRA’s expertise. The FLRA

is—together with the MSPB—the federal authority on matters of federal employment and labor

relations. E.g., Bureau of Alcohol, Tobacco & Firearms v. FLRA, 464 U.S. 89, 97 (1983). Even

if clothed in constitutional or APA garb, Plaintiffs’ claims are nonetheless subject to the CSRA




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and FSL-MRS. On this point, AFGE v. Trump is instructive. The district court characterized the

claims there as involving “separation-of-powers issues” and “whether a statute or the Constitution

has authorized the President to act in a particular way,” 929 F.3d at 760, much as Plaintiffs have

framed their claims in this case. But the D.C. Circuit nonetheless concluded that the AFGE

plaintiffs had to follow the statutory scheme, observing that, like here, the claims at issue could be

adjudicated by resorting to the provisions of the relevant congressional legislation. Id. at 760–61.

And even assuming the FLRA and MSPB have lesser expertise on questions of constitutional

dimension, they may well be able to “offer an interpretation of the Statute[s] in the course of the

proceeding that might alleviate or shed light on the constitutional concerns.” Id. at 761 (cleaned

up). Plaintiff AFGE’s claims on behalf of its members are not subject to judicial review unless

and until they have been pursued through the comprehensive statutory scheme Congress devised.

               b. The FSA Precludes the Challenge Brought by AFSA.
       AFSA’s claims asserted on behalf of its foreign service officer members are likewise

precluded under the two-step Thunder Basin framework by a separate congressional enactment,

the Foreign Service Act of 1980. Congress passed the FSA as “a companion measure” to the

CSRA, S. Rep. No. 96–913 (1980), reprinted in 1980 U.S.C.C.A.N. 4419. And just as it held for

the CSRA, the D.C. Circuit has long recognized that “the Foreign Service Act provides a

comprehensive system for reviewing personnel action[s] taken against federal employees.” U.S.

Info. Agency v. Krc, 989 F.2d 1211, 1217 (D.C. Cir. 1993) (quoting Fausto, 484 U.S. at 455).

       Chief among the FSA’s many provisions for FSOs are “fundamental grievance

procedures.” Thompson v. Pope, 397 F. Supp. 2d 28, 34 (D.D.C. 2005). Under the FSA, the

Foreign Service Grievance Board is “authorized to hear grievances and, where appropriate,

recommend remedial action to the Secretary of State.” Hunter v. United States, 36 Fed. Cl. 257,

259 (1996); see also 22 U.S.C. §§ 4135–38. Under authority provided by Congress, the Board has


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established an extensive process for resolving grievances, including the right to a hearing, the right

to a representative, and the right to examine and cross-examine witnesses. Id. § 4136; see also 22

C.F.R., ch. IX (Foreign Service Grievance Board). The Board’s decision must be in writing and

include findings of fact and a statement of reasons. 22 U.S.C. § 4137(a). And the FSA authorizes

the Board, when it “finds that the grievance is meritorious,” to, among other things, direct the

Department to correct personnel records, reinstate the grievant, or recommend additional remedial

action to the Secretary of State. Id. § 4137(b), (d). A grievant who is dissatisfied with final action

by the Board or the Secretary, meanwhile, is entitled to judicial review “in the district courts of

the United States in accordance with the standards set forth in chapter 7 of title 5 [the APA].” Id.

§ 4140(a). 1

        Congress defined a “grievance” broadly, to include “any act, omission, or condition subject

to the control of the Secretary which is alleged to deprive a member of the [Foreign] Service who

is a citizen of the United States (other than a United States citizen employed under section 3951

of this title who is not a family member) of a right or benefit authorized by law or regulation or

which is otherwise a source of concern or dissatisfaction to the member.” Id. § 4131(a)(1). A

grievance expressly includes both (1) “separation of the member allegedly contrary to laws or

regulations”; or (2) any “other alleged violation, misinterpretation, or misapplication of applicable

laws, regulations, or published policy affecting the terms and conditions of the employment or

career status of the member.” Id. § 4131(a)(1)(A)–(B).




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  The FSA also permits a labor organization such as AFSA to bring a complaint before the Foreign
Service Labor Relations Board (FSLRB), established within the FLRA. 22 U.S.C. §§ 4106–07.
Just as with a FSO’s grievance, “any person aggrieved by a final order” of the FSLRB may seek
and obtain judicial review. Id. § 4109(a). Congress conferred exclusive jurisdiction for such
proceedings on the U.S. Court of Appeals for the District of Columbia. Id. Plaintiffs’ claims are
therefore precluded regardless of whether brought on behalf of Plaintiff AFSA or individual FSOs.

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        Courts have consistently concluded that the FSA is “a comprehensive and exclusive

administrative scheme for review of personnel actions affecting U.S. citizen members of the

Foreign Service.” Hunter, 36 Fed. Cl. at 259; Pope, 397 F. Supp. 2d at 35 (“The comprehensive

nature of the FSA’s grievance procedures provides the plaintiff with an avenue for some redress

[which] forclose[s] [sic] judicial imposition of a new substantive liability.” (cleaned up)); cf. Krc,

989 F.2d at 1217 (“In withholding an administrative remedy from a former FSO alleging reprisal,

it appears that the Congress intended also to deny him a judicial remedy.”). The first step of the

Thunder Basin test is readily satisfied.

        At the second step, as stated above, Plaintiffs must show that “(1) a finding of preclusion

might foreclose all meaningful judicial review; (2) the claim[s] [are] wholly collateral to the

statutory review provisions; and (3) the claims are beyond the expertise of the agency.” AFGE,

929 F.3d at 755 (cleaned up). Plaintiffs cannot do so.

        Meaningful judicial review for FSOs will not be foreclosed because, as explained above,

they can resort to a federal district court in the event they are dissatisfied with a final action by the

Board. This Court is “fully competent to adjudicate” the claims of AFSA’s members, Elgin, 567

U.S. at 17, a point made evident by the fact that Plaintiffs chose to file this action (erroneously and

prematurely) in this Court in the first instance. Notably, a grievance is defined to encompass “any

act, omission, or condition subject to control of the Secretary which is . . . a source of concern or

dissatisfaction to the [FSO].” 22 U.S.C. § 4131 (a)(1)(A)–(H) (listing examples of a grievance).

Plaintiffs’ concerns alleged here, whether related to administrative leave, financial benefits,

repatriation, or even allegations that Defendants have caused FSOs’ “immunity status [to be]

revoked,” all fall within this broad scope. Compl. ¶¶ 42–43. Even before getting to judicial

review, the Board’s remedial authority under the Act includes ordering previously denied




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compensation or “any other perquisite of employment,” retention of any FSO “whose separation

would be in consequence of the matter by which the member is aggrieved,” and reinstatement. 22

U.S.C. § 4137(b). Even if such remedies were denied to an FSO, a reviewing court possesses the

authority to order them.

        Nor is Plaintiff AFSA’s challenge “wholly collateral” to the FSA’s comprehensive scheme.

AFGE, 929 F.3d at 759. Plaintiffs “aim to obtain the same relief” that FSOs could seek in a Board

proceeding, Jarkesy, 803 F.3d at 23, and the FSA “empower[s] the agency and the reviewing

[district] court to provide the relief sought by the plaintiffs,” AFGE, 929 F.3d at 760. A claim is

not “wholly collateral” when it could be pursued through the mechanisms Congress established;

indeed, it is not collateral at all.

        And finally, Plaintiffs’ claims are precisely within the Board’s expertise to decide

personnel matters affecting FSOs. See United States v. Paddack, 825 F.2d 504, 514 (D.C. Cir.

1987) (“[T]he prevailing customs and practices of the foreign service [are] a subject matter about

which the Board has special expertise.”); Ehrman v. United States, 429 F. Supp. 2d 61, 71 (D.D.C.

2006) (citing “[t]he FSGB’s expertise in Foreign Service personnel matters”). Indeed, that is the

Board’s exclusive function. See 22 U.S.C. §§ 4135–38. Again, even though Plaintiffs’ frame their

claim as one under the Constitution, AFSA’s claims are still subject to the statutory scheme.

AFGE, 929 F.3d at 760, see also supra at Section I.A.1.a. Plaintiff AFSA’s claims on behalf of

FSOs are not subject to judicial review in this Court unless and until they have been pursued

through the comprehensive statutory scheme Congress devised. 2


2
  Plaintiffs may contend that they are subject to an immediate injury that cannot justify awaiting
the administrative process called for by Thunder Basin and its progeny. But the only “‘here-and-
now’ injury” that the Supreme Court has suggested permits bypassing a dedicated statutory scheme
is an alleged “subjection to an unconstitutionally structured decisionmaking process,” for example
by an unaccountable ALJ. Axon Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 192 (2023).



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           2. Plaintiffs Fail to Demonstrate Standing for the Broad Relief that They Seek

       Additionally, Plaintiffs lack Article III standing to enjoin Secretary Rubio’s January 24,

2025 order freezing funding to USAID’s contractors. The standing requirement ensures “that there

is a real need to exercise the power of judicial review in order to protect the interests of the

complaining party.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (cleaned up). And

the “standing inquiry [must be] especially rigorous when reaching the merits of the dispute would

force [a court] to decide whether an action taken by one of the other two branches of the Federal

Government was unconstitutional.” Raines v. Byrd, 521 U.S. 811, 819–20 (1997).

       Under any theory of standing, “the irreducible constitutional minimum” requires that,

       (1) the plaintiff have suffered an “injury in fact” that is “concrete and
       particularized” and “actual or imminent, not conjectural or hypothetical”; (2) there
       must exist “a causal connection between the injury and the conduct complained of”;
       and (3) it must be “likely, as opposed to merely speculative, that the injury will be
       redressed by a favorable decision.”
Friends of Animals v. Jewell, 828 F.3d 989, 991–92 (D.C. Cir. 2016) (quoting Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992)). Membership-based associations like Plaintiffs can

establish standing in one of two ways: they can assert “associational standing” to sue on behalf of

their members, see Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977), or

“organizational standing” to sue on behalf of themselves, see People for Ethical Treatment of

Animals v. U.S. Dep’t of Agric. (PETA), 797 F.3d 1087, 1093 (D.C. Cir. 2015). In seeking to


Here, however, there is no adjudicatory process yet underway, let alone a claim that such a process
has been “unconstitutionally structured.” And in any event, the Supreme Court has “made
clear . . . that ‘the expense and disruption’ of ‘protracted adjudicatory proceedings’ on a claim do
not justify immediate review.” Id. (quoting FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 244
(1980)). The D.C. Circuit more recently explained the Axon Court’s holding in a way that, if it
has any bearing here at all, cuts sharply against preliminary relief: “Axon at most says that, as a
matter of statutory jurisdiction, a federal-court challenge to an unconstitutional appointment can
begin before the agency acts. It does not say that every agency proceeding already underway must
immediately be halted because of an asserted constitutional flaw.” Alpine Sec. Corp. v. Fin. Indus.
Regul. Auth., 121 F.4th 1314, 1336 (D.C. Cir. 2024) (emphasis added).

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enjoin Secretary Rubio’s January 24, 2025 Order, Plaintiffs fail to make the showing required for

either associational standing or organizational standing.

               a. Plaintiffs Fail to Demonstrate Associational Standing as to Secretary
                  Rubio’s Order Because No Member is Injured by the Pause on Funding.
       To meet the “constitutional minimum,” a plaintiff must demonstrate that at least one of its

members suffered an injury that is “concrete and particularized” as well as “actual or imminent.”

Lujan, 504 U.S. at 560 (citation omitted); Summers, 555 U.S. at 498. Plaintiffs assert that at least

one of its members will be injured by this funding pause because they will be held personally liable

for contracts entered into by USAID. But as the Court already correctly observed, Plaintiffs failed

to demonstrate “how or why contracting officers would be held personally liable for contracts

entered into by USAID.” TRO at 6; Chaplaincy of Full Gospel Churches v. England, 454 F.3d

290, 297 (D.C. Cir. 2006) (holding that to obtain a preliminary injunction, a plaintiff must

demonstrate a “clear showing” that they are entitled to relief). Plaintiffs seemingly rely upon the

Federal Acquisition Regulations (FAR 42.1303) for the notion that contracting officers can be

personally liable for government contracts. Doe Decl., Exhibit E ¶ 14, ECF No. 9-6. But nothing

in Section 42.1303 of the Federal Acquisition Regulations imposes personal liability on

contracting officers. See generally FAR 42.1303. And indeed, Declarant Marocco is “aware of

no instances where an individual employee of USAID would be liable in a personal capacity for

the United States terminating a grant, contract, or similar program.” Marocco Decl. ¶ 28. Having

failed to demonstrate that they suffer any real, concrete harm from the pause in funding, Plaintiffs

lack standing to enjoin it. See Lujan, 504 U.S. at 560–61.

       Plaintiffs also maintain they suffer an emotional injury from “watching a slow speed train

wreck as the agency reneges on its humanitarian commitments.” TRO at 6. But to establish Article

III standing, plaintiffs must show a “concrete” injury. See Lujan, 504 U.S. at 560–61. And courts



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in the D.C. Circuit have specifically recognized that “the specific fear arising from a foreign policy,

no matter how severe a plaintiff’s disagreement with that foreign policy may be, cannot constitute

injury-in-fact without a concrete harm.” Bernstein v. Kerry, 962 F. Supp. 2d 122, 127 (D.D.C.

2013), aff’d 584 F. App’x 7 (D.C. Cir. 2014). Nor is Plaintiffs’ emotional harm certainly

impending. Although Plaintiffs fear an emotional injury from a “global humanitarian crisis”

caused by the funding pause, see Pls.’ Mot. for TRO at 1, this “amounts to nothing more than

speculation about future events that may or may not occur,” especially given Defendants’ waiver

process for certain funds. Mahorner v. Bush, 224 F. Supp. 2d 48, 50 (D.D.C. 2002) (“The

plaintiff’s allegation that he will suffer an increased chance of losing his life if President Bush

initiates a military conflict with Iraq, amounts to nothing more than speculation about future events

that may or may not occur.”), aff’d 2003 WL 349713 (D.C. Cir. 2003); Indigenous People of Biafra

v. Blinken, 639 F. Supp.3d 79, 85 (D.D.C. 2022) (concluding that the John Does who “reasonably

fear[] injury at the hands of the Nigerian government”—after the United States’s sale of aircrafts

to the Nigerian government—failed to plead a sufficient injury-in-fact); see also Marocco Decl.

¶ 10. Without injury, Plaintiffs fail to demonstrate associational standing to challenge the 90-day

pause in foreign-aid funding.

               b. Plaintiffs Fail to Demonstrate Organizational Standing Because the
                  Organizations are Not Harmed by A Pause of Foreign Assistance
       Plaintiffs’ failure to demonstrate associational standing as to the pause in funding cannot

be saved by the doctrine of organizational standing. To establish organizational standing, a

plaintiff must demonstrate “that the defendant’s actions cause a ‘concrete and demonstrable injury

to the organization’s activities’ that is ‘more than simply a setback to the organization’s abstract

social interests.’” Elec. Priv. Info. Ctr. v. Presidential. Advisory Comm’n on Election Integrity,

878 F.3d 371, 378 (D.C. Cir. 2017) (quoting Am. Soc’y for Prevention of Cruelty to Animals v.



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Feld Ent., Inc., 659 F.3d 13, 25 (D.C. Cir. 2011)). To determine whether a plaintiff’s allegations

are sufficient to convey organizational standing, a court must find that the plaintiff satisfied two

prongs: (1) the defendants’ “action or omission . . . injured [the plaintiff’s] interest;” and (2) that

the plaintiff “used its resources to counteract that harm.” Id. (quoting PETA, 797 F.3d at 1094).

        AFGE 3 asserts that it has “devoted considerable resources in recent days responding to

requests and providing guidance about the Trump administrations actions at USAID” and will need

to divert resources if its members are placed on administrative leave. Decl. of Ottis Johnson, Jr.,

Ex. B ¶¶ 6, 8, ECF No. 9-3. Fundamentally, “an organization that has not suffered a concrete

injury caused by a defendant’s action cannot spend its way into standing simply by expending

money to gather information and advocate against the defendant’s action.” FDA v. All. for

Hippocratic Med., 600 U.S. 367, 394 (2024). And here, AFGE it does not demonstrate, or even

allege, that the pause in foreign aid injures its interests. See id. Nor does it contend that it is using

its resources to counteract any purported harm from the pause on foreign aid. See id. Without

such a showing, Plaintiffs cannot “spend its way into standing,” All. for Hippocratic Medicine,

600 U.S. at 294, and the Court should deny Plaintiffs’ request to enjoin the pause in funding. Elec.

Priv. Info. Ctr, 878 F.3d at 378.

        B. Plaintiffs Are Not Likely to Prevail on Their Constitutional Claims (Counts I
           and II).

        Plaintiffs’ constitutional claims are barred at the outset because they are purely statutory.

In Count I, Plaintiffs allege, “President Trump’s actions to dissolve USAID” exceed the “numerous

. . . statutes regarding USAID appropriations and oversight . . . preserving USAID’s status as an

independent federal agency.” Compl. ¶¶ 57, 59. In Count II, Plaintiffs allege, “President Trump’s


3
  AFSA does not provide a declaration asserting how it is using its resources to counteract any
alleged harm, and thus, cannot demonstrate organizational standing. See generally Ex. A, Decl.
of Randall Chester, Ex. B, ECF No. 9-2. Elec. Priv. Info. Ctr, 878 F.3d at 378.

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actions in dissolving USAID violate the Take Care Clause because they violate duly enacted

statutes establishing USAID as an independent agency.” Id. ¶ 66. Both claims are purely statutory.

The Supreme Court has made clear that “claims simply alleging that the President has exceeded

his statutory authority are not ‘constitutional’ claims, subject to judicial review . . . .” Dalton v.

Specter, 511 U.S. 462, 473 (1994). This keeps with the long tradition of “distinguish[ing] between

claims of constitutional violations and claims that an official has acted in excess of his statutory

authority.” Id. at 472. Plaintiffs therefore cannot prevail at the outset on the merits of Counts I or

II alleging constitutional violations. There are also additional reasons why each of these two

claims must fail.

           1. Count I (Separation of Powers) Additionally Fails Because the President’s
              Powers in the Realm of Foreign Affairs are Vast and Generally Unreviewable.

       Plaintiffs argue that Defendants violated the principle of the separation of powers because

“‘[t]here is no statute that expressly authorizes the President to’ dissolve USAID, ‘[n]or is there

any act of Congress . . . from which such a power can be fairly implied.’” Pls.’ Mot. for TRO at

10 (citation omitted). The President’s actions were in fact within his authorized discretion to make.

See infra Section I.B.2. There can be no reasonable doubt that it is the President whose authority

reigns principally in the realm of foreign affairs.

       Pursuant to Article II of the Constitution, as well as powers conferred by Congress in the

Foreign Service Reform and Restructuring Act of 1998, the President has broad authority to attend

to the foreign affairs of the nation, including by determining how foreign aid funds are used. While

the Executive is “not free from the ordinary controls and checks of Congress merely because

foreign affairs are at issue,” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 21 (2015), the

“historical gloss on the ‘executive Power’ vested in Article II of the Constitution has recognized

the President's ‘vast share of responsibility for the conduct of our foreign relations,’” Am. Ins.



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Ass’n v. Garamendi, 539 U.S. 396, 414 (2003) (quoting Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 610–11 (1952) (Frankfurter, J., concurring)). Thus, “in foreign affairs the President

has a degree of independent authority to act.” Id.; see also United States v. Curtiss-Wright Exp.

Corp., 299 U.S. 304, 320 (1936) (The President’s power in the field of international relations “does

not require as a basis for its exercise an act of Congress.”); Youngstown, 343 U.S. at 635–36, n.2

(the President can “act in external affairs without congressional authority”).

       The upshot is that Article II affords the President tremendous discretion over foreign

affairs, and the actions at issue here must be understood against that backdrop. Again, at bottom,

Plaintiffs challenge a general policy initiated by the President—and implemented by his

subordinates—to pause general aid to confirm that those initiatives were within the national

interest. That fits comfortably within the Executive Branch’s unique expertise and constitutional

role; and it is the sort of conduct that a federal court should be loath to disrupt, absent a valid and

binding direction to the contrary.

       Plaintiffs’ request that this Court step in to supervise USAID’s operations in some sort of

receivership arrangement would create a grave separation of powers problem. This is because

diplomacy and foreign relations fall within the “plenary and exclusive power of the President as

the sole organ of the federal government in the field of international relations.” Curtiss–Wright,

299 U.S. at 319–20; see Schneider v. Kissinger, 412 F.3d 190, 195 (D.C. Cir. 2005) (“It cannot []

be denied that decision-making in the areas of foreign policy and national security is textually

committed to the political branches.”); see Bancoult v. McNamara, 445 F.3d 427, 433 (D.C. Cir.

2006) (“[A]n extensive list of constitutional provisions . . . entrusted foreign affairs and national

security powers to the political branches[.]”); Chi. & S. Air Lines v. Waterman S.S. Corp., 333

U.S. 103, 111 (1948) (“[T]he very nature of executive decisions as to foreign policy is political,




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not judicial. Such decisions are wholly confided by our Constitution to the political departments

of the government, Executive and Legislative.’’); Johnson v. Eisentrager, 339 U.S. 763, 789

(1950) (noting that the President is “exclusively responsible” for “conduct of diplomatic and

foreign affairs”); Harisiades v. Shaughnessy, 342 U.S. 580, 589 (1952) (matters relating “to the

conduct of foreign relations . . . are so exclusively entrusted to the political branches of government

as to be largely immune from judicial inquiry or interference”); Worthy v. Herter, 270 F.2d 905,

911 (D.C. Cir. 1959) (“It is settled that in respect to foreign affairs the President has the power of

action and the courts will not attempt to review the merits of what he does. The President is the

nation’s organ in and for foreign affairs.’’). As such, injunctive relief related to foreign affairs

“deeply intrudes into the core concerns of the executive branch” and may be awarded only upon

“an extraordinarily strong showing” as to each element. Adams, 570 F.2d at 954–55. Plaintiffs

are not likely to prevail on their separation of powers claim where the relief they seek would in

fact result in a serious overstep of the judiciary into the exclusive domain of the Executive.

           2. Count II (Take Care Clause Violation) Additionally Fails Because the Take
              Care Clause Cannot be Used to Obtain Affirmative Relief.

       Plaintiffs attempt to circumvent the limitations of the APA by asserting what can only be

characterized as a broad programmatic attack against the President as well as the agency

Defendants under the Take Care Clause, U.S. Const. art. II, § 3. See Compl. ¶¶ 63–71 (Count II).

Plaintiffs’ theory is that Defendants’ actions “violate the Take Care Clause because they violate

duly enacted statutes establishing USAID as an independent agency,” id. ¶ 66, and they seek both

declaratory and injunctive relief to correct this alleged failure, id. at 28–29, Compl., Prayer for

Relief (b). It should be noted at the outset that the Government is not aware of any case that has

ever held that the Take Care Clause can be used as a mechanism to obtain affirmative relief.

Plaintiffs cannot prevail on their Take Care Clause claim because the Take Care Clause does not



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provide a cause of action against the President or any other Defendant, and this Court, in any event,

has no jurisdiction to issue declaratory or injunctive relief against the President in his official

capacity based on constitutional claims. See Dalton, 511 U.S. at 473. Moreover, even if the Clause

could furnish a basis for affirmative relief, Plaintiffs seek to rely on violations of purported duties

that are found nowhere in the statutes establishing USAID themselves, but rather, are based on

Plaintiffs’ subjective views about how to best implement and administer USAID.

       In their Complaint, Plaintiffs cite Angelus Milling Co. v. Commissioner, 325 U.S. 293, 296

(1945) for the proposition that “[t]he Take Care Clause is judicially enforceable against

presidential actions that violate or undermine statutes duly enacted by Congress.” Compl. ¶ 65.

But in fact, that case holds no such thing and does not even reference the Take Care Clause. See

Angelus Milling Co., 325 U.S. at 296 (holding only and uncontroversially that “[i]nsofar as

Congress has made explicit statutory requirements, they must be observed and are beyond the

dispensing power of Treasury officials”). And Plaintiffs’ motion for a temporary restraining order

contains no case law citations whatsoever and no substantive argument beyond conclusory

allegations supporting their Take Care Clause argument. See Pls.’ Mot. for TRO at 11–12.

       Through the Take Care Clause, the Constitution vests broad, discretionary authority to

“take Care that the Laws be faithfully executed” by the President. U.S. Const. art. II, § 3.

Inevitably, the Laws that the President executes are those enacted by Congress. But no court has

read the Take Care Clause as opening the door to any plaintiff seeking to challenge the way the

President executes Congress’s laws. Rather, as the Supreme Court has recognized, the duty of the

President when exercising his power to see that the laws are faithfully executed is “purely

executive and political,” and not subject to judicial direction. Mississippi v. Johnson, 71 U.S. (4

Wall) 475, 499 (1866); see Marbury, 5 U.S. (1 Cranch) at 137 (“[T]he President is invested with




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certain important political powers, in the exercise of which he is to use his own discretion, and is

accountable only to his country in his political character.”). To hold otherwise would upset our

constitutional scheme of separation of powers and allow judicial superintendence over the exercise

of Executive power that the Clause commits to the President alone. Baker v. Carr, 369 U.S. 186,

217 (1962) (Courts lack jurisdiction over a claim where there is “a textually demonstrable

constitutional commitment of the issue to a coordinate political department.”); see also Dalton,

511 U.S. at 474–75 (judicial review of discretionary Presidential decisions “is not available”);

Lujan, 504 U.S. at 577 (holding that it would be improper for the courts to take over the President’s

duty to “take Care that the Laws be faithfully executed” (quoting U.S. Const. art. II, § 3));

Marbury, 5 U.S. (1 Cranch) at 170 (“The province of the court is, solely, to decide on the rights of

individuals, not to enquire how the executive, or executive officers, perform duties in which they

have a discretion. Questions, in their nature political, or which are, by the constitution and laws,

submitted to the executive, can never be made in this court.”); Chi. & S. Air Lines, 333 U.S. at 114

(refusing to review President’s decision that “embod[ied] Presidential discretion as to political

matters beyond the competence of the courts to adjudicate”); Mississippi, 71 U.S. at 499.

       Nor does the Take Care Clause provide a basis to review the actions of subordinate

Executive Branch officials. The Clause speaks only to the President, not to his subordinates, and

ensures that the President is principally responsible for the actions of the Executive Branch and

directly accountable to the people through the political process. See Free Enter. Fund v. Pub. Co.

Acct. Bd., 561 U.S. 477, 492–93 (2010) (“It is his responsibility to take care that the laws be

faithfully executed.”); id. at 495–97; see also Printz v. United States, 521 U.S. 898, 922 (1997);

Morrison v. Olson, 487 U.S. 654, 689–90 (1988); Clinton v. Jones, 520 U.S. 681, 712–13 (1997)

(Breyer, J., concurring). A subordinate Executive officer cannot violate the President’s duty to




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faithfully execute the laws. To the extent Plaintiffs seek to challenge the other Federal Defendants’

alleged attempt to undermine the statutes recognizing USAID, they cannot do so through the Take

Care Clause, but must do so, if at all, through the APA, which in this case presents separate

insurmountable obstacles for Plaintiffs.

       Moreover, Plaintiffs’ invocation of the Take Care Clause is particularly inappropriate as a

mechanism to advance their own political and policy views. Their challenge must fail because the

actions that they identify are discretionary in nature. For example, Plaintiffs challenge USAID’s

decision to reduce or cut funding for programs like clinics distributing HIV medication, soup

kitchens in Khartoum, and rehydration salts to treat diarrhea in Zambia, see Compl. ¶ 23, but these

are discretionary budgetary decisions made by the agency based on its experience and expertise.

The discretionary nature of these programs makes them ill-suited for a Take Care Clause challenge

because it is within the President’s purview to interpret the statutory guidance Congress provides

him as he sees fit in executing the duties of the executive branch.

       C. Plaintiffs Are Not Likely to Prevail on Their Administrative Procedure Act
          Claims (Counts III and IV).

       Under the APA, the Court may set aside an agency action if the Court finds that challenged

action is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the

law” or “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5

U.S.C. § 706(2)(A), (C). The Court’s review is “ultimately narrow and highly deferential” and

focused on “ensur[ing] that the agency has ‘examine[d] the relevant data and articulate[d] a

satisfactory explanation for its action.’” Am. Whitewater v. Tidwell, 770 F.3d 1108, 1115 (4th Cir.

2014) (citations omitted). The agency need only “provide[] an explanation of its decision that

includes a rational connection between the facts found and the choice made” to have its decision

sustained. Id. (quoting Ohio Valley Envt’l Coal. v. Aracoma Coal Co., 556 F.3d 177, 192 (4th Cir.



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2009)). A court “is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       Plaintiffs’ APA claims are not likely to succeed here because (1) they do not allege any

agency action, (2) they do not allege any final action, (3) an adequate alternative remedy is

available to Plaintiffs, (4) Defendants have not exceeded their statutory authority, (5) Defendants

have not acted contrary to law, and (6) Defendants have not acted arbitrarily and capriciously.

           1. Plaintiffs Do Not Allege Any Agency Action.

       Review under the APA is available only for “agency action.” 5 U.S.C. § 704. Presidential

actions are not agency actions reviewable under the APA. It is “well-settled” that Presidential

action is not subject to review under the APA. Franklin v. Massachusetts, 505 U.S. 788, 801

(1992) Tulare Cnty. v. Bush, 306 F.3d 1138, 1143 (D.C. Cir. 2002). Because the President is not

an “agency” under the APA, his actions cannot meet the APA’s requirement of a “final agency

action.” Franklin, 505 U.S. at 796; Alexander v. Trump, 753 F. App’x 201, 206 (5th Cir. 2018).

       Because an executive order is a presidential action, and not an agency action, Plaintiffs’

challenges to EO 14169 under the APA are not reviewable. See Louisiana v. Biden, 622 F. Supp.

3d 267, 288 (W.D. La. 2022) (citation omitted) (holding that a challenge to EO 14008 “cannot be

reviewed under the APA because the President is not an agency”). Thus, Plaintiffs’ claim that the

President lacked authority to issue the EO, relied upon evidence which lacked veracity, and did

not make appropriate findings are all non-cognizable under the APA. See id.

       Plaintiffs’ challenge to the implementation of the EO likewise fails. First, where the

complaint is effectively seeking review of the President’s action by suing an agency acting on

behalf of the President, the agency actions are not reviewable under the APA. See Ancient Coin

Collectors Guild v. CBP, 801 F. Supp. 2d 383, 402 (D. Md. 2011) (concluding that where the

Department of State was acting on behalf of the President, their actions were not reviewable under


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the APA), aff’d, 698 F.3d 171 (4th Cir. 2012); Detroit Int’l Bridge Co v. Canada, 189 F. Supp. 3d

85, 100 (D.D.C. 2016) (noting that “several cases have concluded that an agency's action on behalf

of the President, involving discretionary authority committed to the President, is ‘presidential’ and

unreviewable under the APA” and concluding that the action by the Department of State on behalf

of the President was unreviewable under the APA). Second, Plaintiffs do not even so much as

allege that either of the defendant agencies here—USAID and State—has taken any action that

could specifically be redressed. Rather, they level a broad programmatic challenge that is not

suitable for APA adjudication.

       Plaintiffs’ challenge to the implementation of the EO likewise fails. First, where the

complaint is effectively seeking review of the President’s action by suing an agency acting on

behalf of the President, the agency actions are not reviewable under the APA. See Ancient Coin

Collectors Guild., 801 F. Supp. 2d at 402 (concluding that where the Department of State was

acting on behalf of the President, their actions were not reviewable under the APA), aff’d, 698

F.3d 171 (4th Cir. 2012).

       Second, Plaintiffs do not even identify a concrete action that either of the defendant

agencies here—USAID and State—has taken that could specifically be redressed by a federal

court. A plaintiff must plead “an identifiable action or event.” Lujan v. Nat’l Wildlife Fed’n., 497

U.S. 871, 899 (1990); Norton v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004) (APA limits

judicial review to “circumscribed, discrete agency actions”). These final agency actions must be

“circumscribed [and] discrete.” Norton v. S. Utah Wilderness Alliance, (SUWA), 542 U.S. 55, 62

(2004). The APA does not provide for “general judicial review of [an agency’s] day-to-day-

operations,” Lujan, 497 U.S. at 899, like “constructing a building, operating a program, or

performing a contract,” Vill. of Bald Head Island v. U.S. Army Corps. of Eng’rs, 714 F.3d 186,




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193 (4th Cir. 2013) (cited approvingly in Louisiana v. United States, 948 F.3d 317, 321 (5th Cir.

2020)). The APA thus contains “a prohibition on programmatic challenges,” meaning “challenges

that seek ‘wholesale improvement’ of an agency’s programs by court decree.”             Alabama-

Coushatta Tribe of Tex. v. United States, 757 F.3d 484, 490 (5th Cir. 2014) (quoting Sierra Club

v. Peterson, 228 F.3d 559, 566 (5th Cir. 2000)).

       Here, Plaintiffs’ Complaint does not challenge a discrete agency action. Rather, Plaintiffs

argue that “Agency Defendants’ decision to shut down USAID constitutes final agency action and

is thus subject to review by this Court. Agency Defendants’ decision to dissolve USAID is evident

from their actions laying off staff and contractors, halting foreign assistance funded by USAID,

issuing stop work orders, closing down USAID headquarters, and taking down USAID’s website.”

Pls.’ Mot for TRO at 12. This is the exact type of broad programmatic challenge and supervision

of an agency’s day-to-day activities that courts have repeatedly ruled are impermissible under the

APA.

           2. Plaintiffs Do Not Allege Any Final Action.

       Agency action must be “final” to be reviewable under the APA. 5 U.S.C. § 704. Agency

action is final only if two requirements are met. The agency action “must mark the consummation

of the agency’s decisionmaking process,” and “the action must be one by which rights or

obligations have been determined, or from which legal consequences will flow.” Bennett v. Spear,

520 U.S. 154, 177–78 (1997) (citations omitted). Plaintiffs argue that “[s]huttering the operations

of USAID marks the end of the decisionmaking process by the Agency Defendants to dissolve

USAID—a decision that includes the immediate halting of USAID programs and operations and

the firing and furloughing of USAID employees and contractors.” Pls.’ Mot. for TRO at 12. But

by definition, this pause of operations to permit “reviews of such programs for programmatic

efficiency and consistency with United States foreign policy, to be conducted within 90 days of


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this order,” Exec. Order 14,169, cannot be a final decision. Indeed, “[t]he responsible department

and agency heads, in consultation with the Director of OMB, will make determinations within 90

days of this order on whether to continue, modify, or cease each foreign assistance program based

upon the review recommendations, with the concurrence of the Secretary of State.” Id. In other

words, the agency’s decisionmaking process is ongoing—not consummated—and to the extent it

one day manifests in a final agency action, that day would come, if at all, only following the review

period. The other consequences to the members of the plaintiff associations such as the placements

on paid administrative leave are not ones involving the determination of rights or obligations.

Administrative leave is not permanent, and those placed on leave continue to receive pay and have

not been fired or told that they will be fired. Plainly, there is no final agency action here.

           3. The APA Does Not Provide a Cause of Action Because an Alternative
              Adequate Remedy is Available to Plaintiffs.

       Review under the APA is available only where “there is no other adequate remedy in a

court.” 5 U.S.C. § 704. The requirement that a plaintiff have “no other adequate remedy in court,”

id., reflects that “Congress did not intend the general grant of review in the APA to duplicate

existing procedures for review of agency action,” Bowen v. Massachusetts, 487 U.S. 879, 903

(1988). As the D.C. Circuit has observed, “the alternative remedy need not provide relief identical

to relief under the APA, so long as it offers relief of the ‘same genre.’” Garcia v. Vilsack, 563

F.3d 519, 522 (D.C. Cir. 2009) (citation omitted). Further, a remedy may be adequate even if “the

arguments that can be raised [in the alternative proceeding] are not identical to those available in

an APA suit.” Elm 3DS Innovations LLC v. Lee, No. 1:16–cv–1036, 2016 WL 8732315, at *6

(E.D. Va. Dec. 2, 2016). If there exists an alternative adequate judicial remedy, a plaintiff lacks a

cause of action under the APA. See Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 621 (D.C. Cir.

2017); see also Versata Dev. Corp. v. Rea, 959 F. Supp. 2d 912, 927 (E.D. Va. 2013) (dismissing



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putative APA claim under Rule 12(b)(6) because decision at issue was not a final agency action

and an alternative adequate remedy existed by way of appeal to the Federal Circuit). As already

described above in Section I.A.1, this is, in essence, an employment action, and there is a CSRA,

FSL-MRS, or FSA remedy potentially available to Plaintiffs that is an adequate alternative.

Plaintiffs are therefore barred from bringing this as an APA claim.

           4. Defendants Have Not Exceeded Their Statutory Authority.

       As explained above, the Court may set aside an agency action under the APA only if the

Court finds that challenged action is “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law” or “in excess of statutory jurisdiction, authority, or limitations, or short

of statutory right.” 5 U.S.C. § 706(2)(A), (C). Plaintiffs first argue that “[t]he decision to shut

down USAID is in excess of the Agency Defendants’ statutory jurisdiction, authority, and

limitations” found in the Foreign Affairs Reform and Restructuring Act of 1998 and the Further

Consolidated Appropriations Act of 2024. Pls.’ Mot. for TRO at 13. These arguments are

unfounded.

       The Foreign Affairs Reform and Restructuring Act of 1998 (FARRA) in no way prevents

Defendants from acting as they have done here. Plaintiffs claim Defendants have exceeded their

statutory authority by preventing USAID from operating as “an independent agency” and that “no

statute or delegation of authority gives the Secretary of State, the Administrator of USAID, or any

Agency Defendant the power to dissolve USAID.” Id. These arguments appear to be borne out

of a misunderstanding of the FARRA. True, Section 1413 of the FARRA established USAID as

an “independent establishment.” See 22 U.S.C. § 6563. But “[f]or the purpose of this title,

‘independent establishment’ means (a) an establishment in the executive branch . . . which is not

an Executive department, military department, Government corporation, or part thereof, or part of

an independent establishment.” 5 U.S.C. § 104. In other words, USAID is “independent” in the


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sense that it is not part of another executive branch agency, but it is still firmly within Executive

Branch control. No court has ever read that to mean USAID must be independent from the

President, or presidential supervision.

       The Further Consolidated Appropriations Act of 2024 similarly grants the President

reorganization authority under certain circumstances. Plaintiffs claim that Defendants violated the

provisions of that act that provide that “neither the Department of State nor USAID may use any

appropriated funds to ‘implement a reorganization, redesign, or other plan . . . by the Department

of State, [USAID], or any other Federal department, agency, or organization funded by th[at] Act

without prior consultation by the head of such department, agency, or organization with the

appropriate congressional committees.’” Pls.’ Mot. for TRO at 14 (quoting Pub. L. No. 118-47

§ 7063(a), 138 Stat. 460 (2024)). “The Act further requires that the congressional committees

must be provided a ‘detailed justification for any proposed action.’” Id. (quoting Pub. L. No. 118-

47 § 7063(a)). Plaintiffs claim Defendants violated these provisions by failing to “consult with

the appropriate congressional committees or provide them with a ‘detailed justification’ for

shutting down USAID prior to implementing any reorganization, as the statute requires.” Id. at

14–15. But in fact, as Plaintiffs even admit, Secretary Rubio notified Congress on February 3,

2025, of his “intent to initiate consultations with [Congress] regarding the manner in which foreign

aid is distributed around the world through [USAID].” Marocco Decl., Ex. C., Letter from Sec’y

of State (Feb. 3, 2025) at 2. And more specifically, Secretary Rubio noted that this review “may

include, among other things, the suspension or elimination of programs, projects, or activities;

closing or suspending missions or posts; closing, reorganizing, downsizing, or renaming

establishments, organizations, bureaus, centers, or offices; reducing the size of the workforce at

such entities; and contracting out or privatizing functions or activities performed by Federal




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employees.” Id. at 3. No further notice was required here, particularly because Defendants have

made no final decision regarding reorganization and have simply paused operations to permit a

review process to make those decisions. Defendants have therefore complied with the notice

requirement. And, in any event, any issue pertaining to the adequacy of the notice is a political

question. The provision is for the benefit of Congress, and it is up to Congress to determine

whether it is satisfied—not the courts. If not, Congress has a number of constitutional tools at its

disposal to push back on the Executive Branch. But the federal courts have no role in that back-

and-forth; and this Court should not inject itself, superintending Congress’s judgment about

whether a given notice really is sufficient to pass muster. Instead, this is the precise sort of

statutory condition that is not privately enforceable.

           5. Defendants Have Not Acted Contrary to Law.

       Plaintiffs next argue that “Agency Defendants’ decision to shut down USAID is contrary

to law,” Pls.’ Mot. for TRO at 17, for two reasons. First, Plaintiffs claim that agencies may only

place employees on administrative leave for up to ten days pursuant to 5 U.S.C. § 6329a(b)(1).

And second, they claim Defendants have violated the Prompt Payment Act, 31 U.S.C. § 3901 et

seq., and implementing regulations, requiring agencies to pay valid invoices by their contracted

due date or within 30 days. Both are wrong. Although employees are generally placed on

administrative leave for no more than ten days, the President’s inherent Article II authority, which

cannot be superseded by statute or regulations, permits him, acting through executive branch

agencies, to place employees on paid administrative leave for such time as he deems appropriate. 4

This is particularly true in the realm of foreign affairs, where the President enjoys great latitude to

craft policy and actions as he sees fit. See supra Section I.B.1.


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 And again, Plaintiffs’ members have a separate statutory scheme for bringing these types of
challenges. See supra Section I.A.1.

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       And as to the Prompt Payment action, although Plaintiffs allege “Defendants have caused

USAID to stop payments to contractors,” Pls.’ Mot. for TRO at 17, they do not claim that stoppage

of payments violated any actual contracts, some of which provide that the Government may

withdraw from its obligations if compliance is determined to no longer be in the national interest.

Moreover, Federal Acquisition Regulation permits “[s]top-work orders [to be] used, when

appropriate, . . . if work stoppage may be required for reasons such as . . . realignment of programs.”

FAR 42.1303. And certainly, the Government could not have been more than thirty days late on

any payments when Plaintiffs only allege it stopped making them on January 24, just seventeen

days ago and with time to change course should the Government choose to do so.

           6. Defendants Have Not Acted Arbitrarily and Capriciously.

       Plaintiffs further argue that Defendants acted arbitrarily and capriciously by failing to

articulate a “satisfactory explanation for their decision to shut down USAID.” Pls.’ Mot for TRO

at 15. But again, Defendants have not “shut down USAID.” Defendants are free to place

employees on paid administrative leave—a personnel question—without having to publicly

articulate any reason for doing so. And as already explained, the President’s powers in the realm

of foreign affairs as they relate to funding for various USAID initiatives are vast. See supra Section

I.B.1. These are not actions reviewable under the APA in the first place, much less ones that are

arbitrary and capricious.

       Plaintiffs also wrongly argue that “[t]he decision to shut down USAID is also arbitrary and

capricious because Agency Defendants failed to consider its harmful consequences.” Pls.’ Mot.

for TRO at 16. This argument fundamentally misunderstands that the entire reason for the pause

in activity at USAID is to permit “reviews of such programs for programmatic efficiency and

consistency with United States foreign policy, to be conducted within 90 days of this order” and

“[t]he responsible department and agency heads, in consultation with the Director of OMB, will


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make determinations within 90 days of this order on whether to continue, modify, or cease each

foreign assistance program based upon the review recommendations, with the concurrence of the

Secretary of State.” Exec. Order 14,169 § 3(a), (c). President Trump and Secretary Rubio

exercised their discretion to determine that it would not be possible to consider the consequences

of various approaches in the absence of a temporary pause because “it is currently impossible to

access sufficient information in one place to determine whether the foreign assistance policies and

interests supported by appropriations are not duplicated, are effective, and are consistent with

President Trump’s foreign policy.” Marocco Decl., Ex. B. ¶ 2.

   II. PLAINTIFFS FAIL TO DEMONSTRATE THAT IRREPARABLE HARM
       WOULD RESULT IN THE ABSENCE OF A PRELIMINARY INJUNCTION.
       The touchstone for injunctive relief “has always been irreparable harm.” Sampson v.

Murray, 415 U.S. 61, 88 (1974) (quoting Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 506

(1959)). To that end, a court can deny a motion for preliminary injunctive relief if the movant fails

to demonstrate irreparable harm, “even if the other three factors entering the calculus merit such

relief.” Full Gospel Churches, 454 F.3d at 297. To be irreparable, the threatened injury “must be

both certain and great; it must be actual and not theoretical.” Id. (citation omitted). And the injury

must also be “beyond remediation.” Id. The mere fact that a complaint alleges a violation of a

constitutional right does not automatically demonstrate an irreparable injury. Ayele v. District of

Columbia, 704 F. Supp. 3d 231, 239 (D.D.C. 2023) (“[T]here is no per se rule that the violation of

any constitutional right is inherently irreparable.”).

       First, Plaintiffs assert that Defendants’ recall of foreign service officers to the United States

is an irreparable injury. Although Plaintiffs’ claim that their members are subject to a “mandatory

recall notice” that requires FSOs to repatriate within thirty days, Pls.’ Mot. for a TRO at 18,

personnel are not required to return to the United States within any specific deadline, Marocco



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Decl. ¶ 23. In fact, employees who are abroad, were given, and will be provided with, a choice to

either stay at Post, or return to the United States. Id. Employees only must choose to make a

decision to return to the United States within thirty days, and those who chose to return to the

United States within that period will have their travel coordinated and financially covered by

Defendants. Id. ¶ 25. But USAID also understands that employees may not be in a position to

repatriate within thirty days, and to that end, it will grant case-by-case exceptions and offer

extensions based on personal or family hardship, mobility or safety concerns, or other reasons. Id.

¶ 26. For example, the agency will consider exceptions based on the timing of dependents’ school

term, personal or familial medical needs, pregnancy, and other reasons. Id.

       For these reasons, although the Court concluded that the expedited recalls could cause an

irreparable injury for the potential damage done to “educational progress, physical safety, and

family relations,” TRO at 5, that finding was misplaced. These areas are the exact considerations

which Defendants will take into account in granting exemptions. Marocco Decl. ¶ 26. Plaintiffs

thus cannot show “that they will suffer immediate and significant hardship in the absence of

immediate judicial intervention.” Church v. Biden, 573 F. Supp. 3d 118, 136 (D.D.C. 2021)

(quoting Wyo. Outdoor Council v. U.S. Forest Serv., 165 F.3d 43, 50 (D.C. Cir. 1999); see also

Full Gospel Churches, 454 F.3d at 297 (holding that to be irreparable, the threatened injury must

be “certain” and “actual”).

       Next, Plaintiffs claim that the placement of their members on paid administrative leave

constitutes an irreparable injury. But typically, employment decisions, like a loss of employment,

are only irreparable in “genuinely extraordinary situation[s].” Sampson, 415 U.S. at 92 n.68. Loss

of income or reputation are not such extraordinary situations. See id. at 89–92; see also id. at 92

n.68 (declining “to define in advance of their occurrence” what might constitute extraordinary




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circumstances, but ruling out “insufficiency of savings or difficulties in immediately obtaining

other employment . . . however severely they may affect a particular individual”). And this case

does not present such a situation, where the employees are placed on paid administrative leave.

See, e.g., Farris v. Rice, 453 F. Supp. 2d 76, 79–80 (D.D.C. 2006) (“[C]ases are legion holding

that loss of employment does not constitute irreparable injury”). Although Plaintiffs’ claim that

the “mass-termination of the USAID workforce” constitutes an extraordinary circumstance, Pls.’

Mot. for TRO at 20, such a situation is not before the Court. And the placement on administrative

leave itself cannot not present irreparable injury, especially where any incidental harms Plaintiffs’

members’ face from this action can be redressed through the CSRA or FSA. See Sampson, 415

U.S. at 92 n.68; supra Section I.A.1.

       Finally, Plaintiffs argue that their members are irreparably injured by the loss of USAID’s

security apparatuses. Pls.’ Mot. for TRO at 20. Although it is possible that an employee put on

administrative leave will lose access to certain USAID systems, 5 USAID presently has no plan or

proposal that an employee would be shut out from access to overseas security resources at a high-

risk post. Marocco Decl. ¶ 27. Thus, there is no certain, irreparable injury. Full Gospel Churches,

454 F.3d at 297.

       Nor has AFGE demonstrated irreparable injury. The organization asserts that it will “lose

hundreds of members if the forecast drastic workforce reductions occur” and will be forced to

“divert significant resources from other priorities to address pressing needs of its USAID employee

members.” Pls.’ Mot. for TRO at 21. Because the question before the Court is only the placement

of employees on administrative leave, AFGE’s argument is of no moment. Accordingly, because




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 This is necessary to ensure the security of internal systems and that the “pause” on agency
operations can truly go into effect. Marocco Decl. ¶ 27.

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Plaintiffs have failed to demonstrate an irreparable injury, the Court should deny their request for

a preliminary injunction. Full Gospel Churches, 454 F.3d at 297.

   III. THE BALANCE OF EQUITIES (INCLUDING THE PUBLIC INTEREST) DOES
        NOT FAVOR A PRELIMINARY INJUNCTION.
       An injunction also is not appropriate because the balance of the equities and the public

interest tip in Defendants’ favor. See Nken, 556 U.S. at 435 (holding that “[t]hese factors merge

when the Government is the opposing party”). As an initial matter, given that Plaintiff cannot

establish the first two factors necessary to obtain an injunction, “it is clear [it] cannot make the

corresponding strong showings [on the second two factors] required to tip the balance in their

favor.” Davis, 571 F.3d at 1295.

       But even if Plaintiff could satisfy one or both of those factors, the remaining factors weigh

in Defendants’ favor. See Kim v. FINRA, 698 F. Supp. 3d 147, 172 (D.D.C. 2023) (“[A] court can

deny preliminary injunctive relief solely on the balance of equities and public interest factors even

in cases, like this, involving constitutional claims.”), appeal dismissed, 2025 WL 313965 (D.C.

Cir. 2025). The public has an interest in permitting the President to take decisive action when it

comes to foreign affairs. Curtiss–Wright, 299 U.S. at 319–20 (holding that foreign affairs fall

within the “plenary and exclusive power of the President,” as it is a “vast external realm, with . . .

important, complicated, delicate and manifold problems”). Here, the President has determined

that the “the United States foreign aid industry and bureaucracy are not aligned with American

interests and in many cases antithetical to American values,” and that such work “serve[s] to

destabilize world peace by promoting ideas in foreign countries that are directly inverse to

harmonious and stable relations internal to and among countries.” See Exec. Order 14,169, § 1,

Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025). A preliminary injunction

would displace and frustrate the President’s decision about how to best address that threat to



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foreign affairs, and the Court must give deference to the Executive Branch’s “evaluation of the

facts” and the “sensitive and weighty interests of national security and foreign affairs,” Holder v.

Humanitarian L. Project, 561 U.S. 1, 33–34 (2010), including “the timing of those . . . decisions.”

Holy Land Found. for Relief & Dev. v. Ashcroft, 219 F. Supp. 2d 57, 74 n.28 (D.D.C. 2002), aff’d,

333 F.3d 156 (D.C. Cir. 2003). To be sure, Defendants are acting this quickly and decisively to

gain control of an organization that included some employees who had refused to comply with

lawful directives by the President and Secretary, directives designed to identify wasteful or

fraudulent programs or those contrary to the foreign policy interests of the United States. See

Marocco Decl. ¶ 9. Because the public has an interest in the executive branch effectuating foreign

affairs, this final factor tips in favor of Defendants. The Court should deny Plaintiffs requested

preliminary injunctive relief. See Kim, 698 F. Supp. 3d at 172.

   IV. ANY PRELIMINARY INJUNCTION SHOULD BE NARROWLY TAILORED.
       For all the foregoing reasons, it would be inappropriate for the Court to issue any

preliminary injunction in any form. However, should the Court choose to do so, “an injunction

must be narrowly tailored to remedy the harm shown.” Gulf Oil Corp. v. Brock, 778 F.2d 834,

842 (D.C. Cir. 1985). Here, at most, Plaintiffs have attempted to show that “their members are

facing irreparable injury from their placement on administrative leave.” TRO at 3. As such, any

preliminary injunction should apply no more broadly than a prohibition on placing a large number

of USAID employees on simultaneous administrative leave. While the Court may have believed

the scope of the current TRO was appropriate as a very short-term stopgap measure, it would be

overbroad if applied for any duration in two significant ways. First, by preventing USAID from

placing any employee on administrative leave for any reason whatsoever, it interferes with the

day-to-day operations of an executive branch agency that should have available to it a full array of

leave options.   Second, by preventing USAID from evacuating any employee from any host


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country for any reason whatsoever, it impermissibly prevents USAID from conducting normal

evacuations where necessary for routine purposes. Thus, the current TRO, if extended to a PI,

would defy established principles barring equitable relief that is “more burdensome to the

defendant[s] than necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki,

442 U.S. 682, 702 (1979). Instead, the Court should limit any preliminary injunctive relief to a

bar on the simultaneous placement of nearly all USAID employees on administrative leave. And

should the Court decide to issue any preliminary relief, the Government respectfully requests that

the Court stay its order for a short time period to permit the Government to consider whether to

appeal.

                                           CONCLUSION

          For these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction.




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